                                 Case 19-12051-MFW                                     Doc 227                 Filed 11/25/19                       Page 1 of 9



                                                                     UNITED STATES BANKRUPTCY COURT
                                                                          DISTRICT OF DELAWARE


In re: SIENNA BIOPHARMACEUTICALS, INC.                                                                                                              Case No. 19-12051 (MFW)
                                                                                                                   Reporting Period: October 1, 2019 through October 31, 2019


                                                                           MONTHLY OPERATING REPORT


                                                                                                                                    Document           Explanation Affidavit/Supplement
REQUIRED DOCUMENTS                                                                                      Form No.                    Attached            Attached         Attached
Schedule of Cash Receipts and Disbursements                                                           MOR-1                             x
   Bank Reconciliation (or copies of debtor's bank reconciliations)                                   MOR-1a                            x
   Schedule of Professional Fees Paid                                                                 MOR-1b                            x
   Copies of Bank Statements                                                                                                                                                               x
   Cash Disbursements Journals                                                                                                                                                             x
Statement of Operations                                                                               MOR-2                                x
Balance Sheet                                                                                         MOR-3                                x
Status of Postpetition Taxes                                                                          MOR-4                                                                                x
  Copies of IRS Form 6123 or payment receipt                                                                                                                                               x
  Copies of tax returns filed during reporting period                                                                                                                                      x
Summary of Postpetition Accounts Payable                                                              MOR-4                                x
Accounts Receivable Reconciliation and Aging                                                          MOR-5                                x
Debtor Questionnaire                                                                                  MOR-5                                x


I declare under penalty of perjury (28 U.S.C. Section 1746) that this report and the attached documents are true and correct to the best of my knowledge and belief.




 /s/ Alex Azoy
_______________________________________                                                                  11/25/19
                                                                                                      ______________________________
Signature of Authorized Individual*                                                                        Date


  Alex Azoy
_______________________________________                                                                   Chief Financial Officer
                                                                                                      ______________________________
Printed Name of Authorized Individual                                                                      Title of Authorized Individual



*Authorized individual must be an officer, director or shareholder if debtor is a corporation; a partner if debtor is a partnership; a manager or member if debtor is a limited liability company.
                      Case 19-12051-MFW                  Doc 227         Filed 11/25/19          Page 2 of 9



United States Bankruptcy Court
District of Delaware

In re: SIENNA BIOPHARMACEUTICALS, INC.                                                                   Case No. 19-12051 (MFW)
Debtor                                                                   Reporting Period: October 1, 2019 through October 31, 2019

General Notes

The Monthly Operating Report ("MOR") has been prepared solely for the purpose of complying with the monthly reporting
requirements applicable in these chapter 11 cases and is in a format that the Debtor believes is acceptable to the United States
Trustee. The financial information contained herein is limited in scope and covers a limited time period. This MOR has not been
prepared in accordance with generally accepted accounting principles ("GAAP") in the United States. In addition, the financial
statements and supplemental information contained herein represent condensed combined information.

The unaudited consolidated financial statements have been derived from the books and records of the Debtors as prepared utilizing
month-end close and cut-off procedures in the normal course. This information, however, has not been subject to the same level of
accounting review and testing that would be applied to financial information in accordance with GAAP, and upon application of
such procedures the financial information could be subject to material change. The financial information contained herein is
presented on a preliminary and unaudited basis and remains subject to future adjustment, which may be material, and reconciliation.
However, the Debtors are not required to publicly update this MOR to reflect more current facts or estimates, or upon the
occurrence of future events, including if the facts, estimates, or assumptions upon which this MOR is based change.

The results of operations contained herein are not necessarily indicative of results which may be expected of any other period or for
the full year and may not necessarily reflect the consolidated results and financial position of the Debtors in the future. The Debtors
have not made and do not make any representation to any person regarding the Debtors' future results.
                      Case 19-12051-MFW               Doc 227        Filed 11/25/19            Page 3 of 9



United States Bankruptcy Court
District of Delaware

In re: SIENNA BIOPHARMACEUTICALS, INC.                                                               Case No. 19-12051 (MFW)
Debtor                                                               Reporting Period: October 1, 2019 through October 31, 2019


                                                            MOR - 1
                                         Schedule of Cash Receipts and Disbursements
                                     For the period October 1, 2019 through October 31, 2019

                                                           For the Period Ended 10/31/19          Cumulative through 10/31/19
Total Cash Receipts                                                           39,414.01                             39,429.56

Operating Cash Disbursements
Payroll, Payroll Taxes, Benefits and Fees                                      397,563.61                          584,653.63
Severance & Retention                                                          191,000.00                          191,000.00
Preclinical & Clin Dev (R&D)                                                    13,567.15                           13,567.15
Manufacturing (R&D)                                                            101,507.18                          101,507.18
Insurance                                                                                                                 -
Accounts Payable                                                                                                          -
Rent (NNN)                                                                       36,643.05                          36,643.05
Utilities                                                                         7,451.23                           7,451.23
Corp Credit Card                                                                 16,887.35                          16,887.35
Travel Expenses                                                                   2,974.16                           2,974.16
Ordinary Course Legal Fees                                                      (34,848.20)                        (24,848.20)
Accounting & Taxes                                                                                                        -
Director/Corporate Advisor Fees                                                                                     14,062.50
Italy/Lux Funding and Severance Obligation                                                                                -
Other Disbursements                                                              6,994.57                            7,784.14
Total Operating Cash Disbursements                                             739,740.10                          951,682.19

Operating Cash Flow                                                            (700,326.09)                       (912,252.63)

Restructuring Disbursements
Professional Fees                                                               29,112.34                           29,112.34
Other Restructuring Disbursements                                              130,283.33                          130,283.33
Total Operating Cash Disbursements                                             159,395.67                          159,395.67

Net Cash Flow                                                                  (859,721.76)                     (1,071,648.30)

Available Beginning Cash Balance                                            11,145,951.31                       11,357,877.85
Change +/-                                                                    (859,721.76)                      (1,071,648.30)
Available Ending Cash Balance                                               10,286,229.55                       10,286,229.55
                           Case 19-12051-MFW                         Doc 227             Filed 11/25/19               Page 4 of 9



United States Bankruptcy Court
District of Delaware

In re: SIENNA BIOPHARMACEUTICALS, INC.                                                                                                Case No. 19-12051 (MFW)
Debtor                                                                                                Reporting Period: October 1, 2019 through October 31, 2019


                                                                      MOR - 1a
                                  Bank Account Balances, Debtor Statement with respect to Bank Account Reconciliations

         Account Number                           Bank                           State                    Account Type                 Balance at 10/31/2019
**3396                              Silicon Valley Bank                           CA            Sweep - Excess Cash Investments                    9,823,100.41
**3773                              Silicon Valley Bank                           CA            Operating                                            250,017.94
**4271                              Silicon Valley Bank                           CA            Restricted Cash Collateral                           181,211.20
**3311                              Silicon Valley Bank                           CA            Collateral MMA                                        30,000.00
**6528                              Silicon Valley Bank                           CA            Utility                                                1,900.00
Total                                                                                                                                            $10,286,229.55

Bank Account Reconciliations & Cash Disbursements Journal
The Debtor affirms that bank reconciliations are prepared for all open and active bank accounts on a monthly basis. The Debtor affirms that within their financial
accounting systems, check registers and/or disbursement journals are maintained for each disbursement account.

Bank Statements
The Debtor affirms that bank statements for all open and active bank accounts are retained by the Debtors.
                              Case 19-12051-MFW                                Doc 227             Filed 11/25/19                 Page 5 of 9



United States Bankruptcy Court
District of Delaware

In re: SIENNA BIOPHARMACEUTICALS, INC.                                                                                                                  Case No. 19-12051 (MFW)
Debtor                                                                                                                   Reporting Period: October 1, 2019 through October 31, 2019


                                                                                     MOR - 1b
                                                                Schedule of Professional Fees and Expenses Paid
                                                              For the period October 1, 2019 through October 31, 2019

                                                                                                                         Amount Paid This Period       Amount Paid Case to Date
                     Payee                              Period Covered         Payment Amount        Payment Date          Fees       Expenses           Fees       Expenses
Latham & Watkins LLP
Young Conaway Stargatt & Taylor, LLP
Ernst & Young LLP
Cowen & Company, LLC
Force Ten Partners, LLC
Foley & Lardner LLP
Potter Anderson & Corroon LLP
Emerald Capital Advisors
Epiq Corporate Restructuring, LLC                     9/16/19 to 9/30/19 [1]           45,928.50           10/23/2019     39,321.40        6,607.10     39,321.40        6,607.10
Total                                                                                                                   $ 39,321.40    $   6,607.10   $ 39,321.40    $   6,607.10

[1] A retainer balance of $16,816.16 was applied to this invoice, with the balance of $29,112.34 paid in cash by the Debtor.




                                                                                                                                                                         FORM MOR-1
                                                                                                                                                                              (04/07)
                         Case 19-12051-MFW              Doc 227           Filed 11/25/19              Page 6 of 9



United States Bankruptcy Court
District of Delaware

In re: SIENNA BIOPHARMACEUTICALS, INC.                                                                                 Case No. 19-12051 (MFW)
Debtor                                                                                 Reporting Period: October 1, 2019 through October 31, 2019


                                                                 MOR - 2
                                                         Statement of Operations
                                         For the period October 1, 2019 through October 31, 2019

Revenues                                                                                                           $                         -

Operating Expenses:
  Salaries, Tax & Benefits                                                                                                           571,582.58
  Office Rent                                                                                                                         35,789.46
  Office Services & Supplies                                                                                                           1,466.54
  Postage, Mailing & Freight                                                                                                           1,941.90
  Bank Charges                                                                                                                         3,744.19
  Travel - Air, Hotel, Auto                                                                                                           13,642.41
  T&E Meals - Subject To 50% Limit                                                                                                     4,661.58
  Accounting Fees                                                                                                                    199,011.20
  Investor Relations                                                                                                                   1,531.40
  IT Consulting & External Serv                                                                                                       11,129.41
  Corporate Legal Expense                                                                                                              5,992.75
  Litigation Expense                                                                                                                      79.00
  Business Development                                                                                                                 6,225.83
  Taxes & Licenses - Prop, Compliance                                                                                                 16,666.67
  Telecommunications - Voice/Data                                                                                                      3,726.32
  Consultants                                                                                                                          6,866.14
  Conferences & Training                                                                                                               1,614.00
  Dues & Subscriptions                                                                                                                    47.98
  Starting Material                                                                                                                    4,166.67
  Drug Substance                                                                                                                       5,157.04
  Drug Product/Packaging                                                                                                              55,200.75
  Logistics                                                                                                                            2,910.00
  Massager                                                                                                                             2,329.90
  SNA-001 LHR Pivotal                                                                                                                 58,041.00
  SNA-120-301 Ph3 Pivotal #1                                                                                                         155,129.36
  Clinical Consultants                                                                                                                 2,631.00
  Regulatory                                                                                                                           2,223.50
  Interest Income                                                                                                                        (17.94)
  Realized (Gain) / Loss                                                                                                                 829.04
  FX Transactional (Gain) / Loss                                                                                                         170.93
  Interest Expense                                                                                                                   128,333.33
  Total Operating Expenses                                                                                         $               1,302,823.94

Comprehensive Gain / (Loss)                                                                                        $              (1,302,823.94)
                       Case 19-12051-MFW         Doc 227          Filed 11/25/19              Page 7 of 9



United States Bankruptcy Court
District of Delaware

In re: SIENNA BIOPHARMACEUTICALS, INC.                                                                  Case No. 19-12051 (MFW)
Debtor                                                                   Reporting Period: October 1, 2019 through October 31, 2019

                                                       MOR - 3
                                                    Balance Sheet
                                                as of October 31, 2019
Assets

Current Assets
Cash & Cash Equivalents                                                                                              10,070,213.81
Restricted Cash                                                                                                         213,111.20
Prepaid Expenses                                                                                                      8,784,307.72
Other Current Assets                                                                                                          0.00
Total Current Assets                                                                                                 19,067,632.73

Non-Current Assets
Fixed Assets                                                                                                            522,978.75
Accumulated Depreciation                                                                                               -344,206.25
12200-Due To/Due From Sienna/Italy                                                                                            0.00
12210-Due To/Due From Sienna/Holdings                                                                                         0.00
12230-Due To/Due From Sienna/UK                                                                                               0.00
12260-Due To/Due From LUX/Italy                                                                                               0.00
13100-Investment in UK Holdings Ltd.                                                                                 43,765,787.72
13110-Investment in Subsidiary                                                                                                0.00
Other Long-Term Assets                                                                                                   81,122.11
In-Process Research & Development                                                                                             0.00

Total Assets                                                                                                         63,093,315.06


Liabilities

Current Liabilities
Accounts Payable                                                                                                      2,926,923.49
Accrued Personnel Costs                                                                                                 430,617.48
Other Payables                                                                                                        2,073,916.04
Total Current Liabilities                                                                                             5,431,457.01

Long Term Liabilities
Notes Payable                                                                                                        10,103,409.09
Deferred Tax Liability                                                                                                        0.00
Other Long-Term Liabilities                                                                                                   0.01
Total Long Term Liabilities                                                                                          10,103,409.10

Total Liabilities                                                                                                    15,534,866.11


Capital
Common Stock and Paid in Capital                                                                                    209,817,605.94
Retained Earnings - Loss Carry-Forward                                                                             -153,337,269.82
Net Income / (Loss)                                                                                                  -8,793,052.80

Accumulated Other Comprehensive Income/(Loss)                                                                          -128,834.37

Total Shareholders' Equity                                                                                           47,558,448.95

Total Liabilities and Capital                                                                                        63,093,315.06
                            Case 19-12051-MFW                           Doc 227             Filed 11/25/19                 Page 8 of 9



United States Bankruptcy Court
District of Delaware

In re: SIENNA BIOPHARMACEUTICALS, INC.                                                                                                       Case No. 19-12051 (MFW)
Debtor                                                                                                        Reporting Period: October 1, 2019 through October 31, 2019


                                                                               MOR - 4
                                             Debtor Statement with Respect to Post-Petition Accounts Payable and Taxes
                                                       For the period October 1, 2019 through October 31, 2019

Mr. Alex Azoy herbeby declares under the penalty of perjury:

I am the Cheif Financial Officer of Sienna Biopharmaceuticals, Inc., the above captioned Debtor. I am familiar with the Debtor's day-to-day operations, business affairs
and books and records. I am authorized to submit this statement on behalf of the Debtor.

All statements in this statement are based on my personal knowledge, my review of the relevant documents, my discussions with other employees of the Debtor, or my
opinion based on my experience and knowledge of the Debtor's operations and financial condition. If I were called upon to testify, I could and would testify to each of the
facts set forth herein based on such personal knowledge, review of documents, discussions with other employees of the Debtor or opinion.

To the best of my knowledge, information, and belief, and except as otherwise set forth in this MOR, the Debtor has filed all the necessary federal, state, and local tax
returns and have timely made (or are in the process of remediating any immaterial late filings or prepayments) all related required post-petition tax payments, which are
not subject to dispute or reconciliation, and are current.




   /s/ Alex Azoy
_______________________________________                                                       11/25/19
                                                                                          ______________________________
                                                                                             Date
                                     Case 19-12051-MFW                                         Doc 227                  Filed 11/25/19                    Page 9 of 9



United States Bankruptcy Court
District of Delaware

In re: SIENNA BIOPHARMACEUTICALS, INC.                                                                                                                                                 Case No. 19-12051 (MFW)
Debtor                                                                                                                                                  Reporting Period: October 1, 2019 through October 31, 2019


                                                           MOR - 5
                                        Accounts Receivable Aging and Reconciliation
                                    For the period October 1, 2019 through October 31, 2019

                                                          + Amounts Billed        - Amounts Collected
                               Beginning Amount             During Period            During Period            Ending Amount
Accounts Receivable        $                      -   $                      -   $                    -   $                     -


                                                                                     Days Past Due
                                                                                                                                                                             Allowance for
                                   Current                   0-30 Days                31-60 Days               61-90 Days               > 90 Days        Total AR, Gross   Doubtful accounts       Total AR, Net
Accounts Receivable        $                  -       $                  -       $                   -    $                 -       $               -   $             -    $             -     $              -


For the MOR Reporting Period                                                                                      Yes                      No
Have any assets been sold or transferred outside the normal course of business this reporting period?
                                                                                                                                           X
If yes, provide an explanation below.
Have any funds been disbursed from any account other than a debtor in possession account this
                                                                                                                                           X
reporting period? If yes, provide an explanation below.

Have all postpetition tax returns been timely filed? If no, provide an explanation below.                          X

Are workers compensation, general liability and other necessary insurance coverages in effect? If no,
                                                                                                                   X
provide an explanation below.
Has any bank account been opened during the reporting period? If yes, provide documentation
identifying the opened account(s). If an investment account has been opened provide the required                                           X
documentation pursuant to the Delaware Local Rule 4001-3.
